EXHIBIT E
JOMPLAINT AND REQUEST FOR INVESTIGATION INTO THE ...

Subject: COMPLAINT AND REQUEST FOR INVESTIGATION INTO THE ABUSIVE RACIST
DISRESPECTFUL BEHAVIOR AND TREATMENT BY DHS/USCIS EXAMINER/OFFICER ISO LEWIS, AND
THE REST OF THE NEW YORK DHS FIELD OFFICE FOR ADJUSTMENT OF STATUS CASE RECEIPT NO
MSC-199-061-5848; ALIEN NO 219-127-279; SPONSOR/PETITIONER: MANCHANDA, RAHUL;
BENEFICIARY: MADEJ, SYLWIA

From: MANCHANDA LAW OFFICE PLLC <info@manchanda-law.com>

Date: 2/13/2020, 10:09 PM

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Office for Civil Rights and Civil Liberties
U.S. Department of Homeland Security
Building 410, Mail Stop #0190
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U.S. Department of Justice

Civil Rights Division

950 Pennsylvania Avenue, N.W.

Office of the Assistant Attorney General, Main
Washington, D.C. 20530

Fax: (202) 616-9881

U.S. Department of justice
Office of the Inspector General
Investigations Division

ATTN: OIG Hotline

950 Pennsylvania Ave., NW
Washington, DC 20530

RE: COMPLAINT AND REQUEST FOR INVESTIGATION INTO THE ABUSIVE RACIST
DISRESPECTFUL BEHAVIOR AND TREATMENT BY DHS/USCIS EXAMINER/OFFICER ISO LEWIS,
AND THE REST OF THE NEW YORK DHS FIELD OFFICE FOR ADJUSTMENT OF STATUS CASE
RECEIPT NO MSC-199-061-5848; ALIEN NO 219-127-279; SPONSOR/PETITIONER: MANCHANDA,
RAHUL; BENEFICIARY: MADE), SYLWIA

 

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Hello:

Pursuant to the attached, this is a formal complaint and request for your office to investigate THE
ABUSIVE RACIST DISRESPECTFUL BEHAVIOR AND TREATMENT BY DHS/USCIS EXAMINER/OFFICER
ISO LEWIS, AND THE REST OF THE NEW YORK DHS FIELD OFFICE located at 26 Federal Plaza,
Room 7-700, New York NY 10278 during our marriage adjustment of status interview for my wife,
Sylwia Manchanda.

The worst part of the way both me and my wife were treated (| am one of the top immigration
lawyers in New York City and the United States, having practiced Immigration Law for nearly 20
years since March 2002 in my own law practice on Wall Street, so | obviously know what | am
doing) was the way ISO Lewis, an African-American woman, made subtly racist comments
directed at my wife is who is white and Polish (and a high level international fashion model), and
at me, who is Indian-American, while my young baby son Gabriel Manchanda, 6 months old, was
sitting on my wife’s lap during this “interview,” which felt more like a Gestapo or KGB
interrogation than an immigration marriage interview.

This was coming on the heels of the New York DHS Field Office making us wait, to be literally THE
LAST PEOPLE TO BE INTERVIEWED IN A ROOM OF 100s OF PEOPLE, even though we arrived on
time at 1:42 PM for our 2 PM interview, only to be forced to sit and wait until at least
approximately 4:30 PM, with various DHS/USCIS Officers floating around us, looking at us, making
eye contact, snickering behind our backs, making comments about me, my wife, and my baby,
hinting/insinuating/indicating how they were going to screw me because | am a famous
immigration lawyer who happens to be a Trump supporter and conservative, mocking us here
and there while my 6 month old baby cried hysterically, we had to change his pampers in the
waiting facility, and other horrific abuses.

When we finally were brought in for our “interview,” ISO Lewis constantly, in front of me and my
baby son, insinuated that my beautiful Polish wife was a prostitute, that | was marrying her for
fraudulent purposes, questioned the “bona fides” of our marriage, mocked my profession as a
leading New York City immigration lawyer for the past 20 years who regularly appears on
FoxNews, CNN, CourtTV, MSNBC, I-24 News, Channel 2 News, Law & Crime Network, having
written and published 3 books about court and government corruption (Deep State Defector Lib
and Ill), and also write for nearly 10 online periodical newspapers.

Even more grotesquely, ISO Lewis began to parrot my ex-wife Sharie Kruzic, who no doubt has
filed hundreds of “poison pen” false complaints HSI Tips Online against me and my current wife,
ISO Lewis humiliatingly asking my current wife Sylwia “how much do | pay my ex-wife in child
support,” “when was the last time | saw my kids (my ex wife purposefully alienates my kids from
me),” “how often do | see my kids,” and other shitty comments that are really none of her
business, have nothing to do with our marriage or her adjustment of status interview.

We gave this ISO Lewis a ton of documents required under the immigration laws, including
everything that is statutorily required, such as tax and financial information, lease documents,

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birth/marriage certificates, but [SO Lewis essentially “poo-pooed” all of this, basically ignored it,
and instead chose to insult, harass, and mock us and our baby son, making my beautiful and
decent Christian wife from Poland, tear up and cry,

We explained countless times how in the past few years my famous international model wife has
come to the USA twice on a tourist/visitor/business class visa, to also explore possibly working
for modeling agencies, meeting agents and major media, making contacts, but that no paid for
employment ever took place, but all ISO Lewis kept trying to do was trip us up, trap us, and make
us Say something that wasn’t even true.

The marriage immigration interview should be a pleasant experience, welcoming a foreign
national to the United States as a permanent resident, showing the good side of the United
States, not making my wife and baby cry with abuse, insults, mockery, humiliation, racism,
discrimination, intimidation, threats, harassment, and fear.

Having practiced immigration law for nearly 20 years in New York City and throughout the United
States and Consular outposts all over the world, | have never seen such an ugly, egregious,
disturbing, flippantly biased, humiliating, and abusive interview for my clients and others.

And | certainly will not accept it for me, my beautiful wife, and my beautiful baby son Gabriel.

| need redress, justice, and a remedy now, otherwise | will be pursuing federal court action and
going to the newspapers.

This is what is wrong with Socialism/Communism - giving one human being with all of their
inherent bias, racist feelings, jealousy, arrogance and abuse of power, abuse of law and authority
to hurt and harm others, especially my baby son and wife, and | will not allow this to stand -
hence my complaint and request for investigation to your office.

Kind regards,

ee

Rahul D.. Manchanda, Esq.

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Martindale Hubbell Client Champion Silver 2017 Award Winner.

Better Business Bureau Accredited Business A+ Rating.

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Association of American Trial Lawyers Top 10@ In New York State.
U.S. News and World Report Listed Lawyer.

Licensed New York State Real Estate Broker.

CLIENT TESTIMONIALS: http: //manchanda-law.com/testimonials/

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~~ Attachments:
COMPLAINT AGAINST ISO LEWIS AND NEW YORK CITY DHS FIELD OFFICE. pdf 65.9 KB
NOTICE OF CASE CONTINUANCE. pdf 452 KB

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